Case 2:O4-cV-O251O-.]DB-tmp Document 12 Filed 05/31/05 Page 1 of 2 Page|D 22

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UNITED STA TES DISTRICT COURT Fi|-`r"D i`-*-*’_. % .. .L.E).C\
WESTERN DISTRICT OF TENNESSEE 05 my 3! W 3_ §§
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WESTERN DIVISION _
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W 0 f -iEr», 9 us
DIRECTTV, Inc., a California Corporation, JUDGMENT IN A CIVIL CASE
Plaintiff,
V.
GREGORY BONTRAGER, CASE NO: 04-25]0-B
Defendant.

 

DECISION BY COURT. This action came to consideration before the Cour't. The issues have
been considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance with the Agreed Order Of
Compromise And Dismissal As To Defendant Gregory Bontrager entered on May 23, 2005,
this cause is hereby dismissed Without prejudice.

ROVED:

 

J. D NIEL BREEN
TED STATES DISTRICT COURT

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Date

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:04-CV-025]0 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

